Case 2:02-cv-07671-

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IN THE UNITED gTATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NELSON SHANKS
1163 State Road
andalusia, PA 19020

Vv.
nr

LESLIE and RBIGAIL WEXNER, h/woot Mab cage No. 62 "7 oT |

one Whitebarn Road :

New Albany, OH 43054 » ta

and , a 8 3

JEFFREY 5. EPSTEIN, individually *
and d/b/a J. EPSTEIN AND :
COMPANY, INC.

The Villard House

457 Madison Avenue, 4** Floor pte
New york, NY 10022 me cele
and

GHISLAINE MAXWELL uo to
The Villard House
457 Madison Avenue, 4% Floor

New York, Ny 10022

COMPLAINT

It. PARTIES
1. Plaintiff, Nelson Shank ("shanks"), 38 4 citizen of
the Commonwealth of pennsylvania, ‘and at all relevant times,
regided at 1163 State Road, Andalusia, Bucks County, pennsylvania
19020.

2. pefendants, Leglie and Abigail Wexner (the “wexners”),
are husband and wife. At all relevant times, the Wexners were
citizens of the State of Ohio and resided at One Whitebarn Road,
New Albany, Ohio 43054.

3. Defendant, Jéffrey f. Bpstein, 18 a regiden: and
citizen of the state of New York. jeffrey &. Epstein, was at all

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relevant times, 4 principal and an. offiger of Defendant, V-
Epstein and Company, Ine. (collectively “Epstein”) which, at all
relevant times, had its. principal place of business at The

Villard House, 457 Madison Avenue, New york, New. York 10022.

4. Defendant, J. Epstein and Company, inc. was, at all
relevant times, a corporation organized, and existing uncer the
lawa of the State of New York, with:jts principal, place of
business at The Villard House, 457.,Madison Avenue, New ‘York, New
York 10022.

5. Defendant, Ghislaine Maxwell (“Maxwell”), igs, upon
information and belief, a resident, and citizen of the State of
New York, and at all relevant times hereto, has acted as the
actual, apparent and/or ostensible agent. for Epstein and/or the
Wexners, and, at all relevant times, conducted business from 457
Madison Avenue, New York, New York. 10022...

Il. JURISDICTION AND VENUE
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6. Subject matter jurisdiction is conferred upoti this
Court pursuant to provisions oF 28.U.S.C. §1332 in that. there is
diversity of citizenship between Plaintiff and Defendants, and
the amount in controversy exceeds: ‘the ‘sum of: Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest and costs.

7. Venue ig proper in the Eastern District of Pannsylvania
pursuant to 28 U.S.C. §1391 (a) because a gubstantial part of the
events giving rise to this claim occurred in the Eastern District
of Pennsylvania.

III. FACTS —

 

8. In early 2000, Shanks was contacted by Maxwell, who
represented to Shanks that she was acting on behalf of Epstein
and/or the Wexners, to inquire whether Shanks would ccusider
accepting a commission to paint, a, family portrait of Boigail
Wexner and her four children. et .

9. During subsequent conversations between Sharks and
Maxwell, Maxwell informed Shanks that the Wexners had
specifically requested that Shanks be commissioned to paint a
family portrait because of Shanks’ reputation, talent, painting
style, acclaim, notoxiety and status as a world renowned artist.

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10. Shanks hae received criti@al a¢oelaim for his paintings
and portraits which include subjects such as Margaret Thatcher,
Luciano Pavarotti, Princess Diana, Ronald Reagan, and Bill
Clinton, to name only 2 few. 2 Me Teta

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11, Conversations between Shanks and Maxwell.culminated in
a personal meeting between Shanks and Abigail Wexner in New York
City on or about Maxch 15, 2000.

12, The visit between Shanks and Abigail Wexner in New York
City was arranged by Abigail Wexner’s personal assistant, Karl W.
Koon. PE

13. Following the March 15, ‘2002 visit: between Shanks and
Abigail Wexner, Shanks was invited to the Wexner. Estate in New
Albany, Ohio for purposes’ relating’ to the proposed portrait.

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14. Shanks traveled to the Wexner Estate on or about April
26, 2000, at the expense of the Wexners.. The arrangementts were
made by Abigail Wexner’s personal adbistant, Karl W. Kocn. A
true and correct copy of letters bétweenShanks and Abigail
Wexner, together with Shanks” itinérary,;"ie attached hereto at
Exhibit ‘A’. OT Sw So,

15. During Shanks’ visit to thé Wexner Estate, Shenks spent
two days photographing ‘Wexner, her four children, and various
settings. The resulting photographs would, pursuant to Abigail
Wexner’s express direction and consent, form the basis of the
planned portrait.

16. Shanks spent approximately two dayg at the Wexner
Hetate during which time he was given limited access to Abigail
Wexner and: her children. Notwithstanding such limited access,
Shanks was able to take approximately 300 still photographs of
Abigail Wexner and her children and observed, to the ex.ent
allowed, the children in their home environment, interamting with
each other and their mother, A representative sample of.
photographs taken by Shanks during his Masit to the Wexner Estate
is attached hereto as Exhibit “B’.. > os

17. Following the April 26, 2900 visit to the Wexner
Estate, Shanks confirmed in writing to Abigail Wexner in a letter
dated May 3, 2000, that he was pleased, with the photographs he
took during the visit, and that he, was.contemplating the uge of a
large 6' x 6! format’ tor the painting.” A true and correct copy
of the May 3, 2000 letter From Shanks to Abigail Wexner is
attached hereto as Bxhibit “Cc”. — ,

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18. By fax dated May 4, 3000y.Abigail: Wexner, through her
assistant, Amy Roberts, provided Shanks, at his request, with the
measurements of her four children and herself, which measurements
provided Shanks with additional information about Abigail Wexner
and her children for purpeses of composing the painting | See
Exhibit “D", a i

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19. At no time did the Wexners, Maxwell or Epstein request
to have any involvement in the creabive ‘process such as selection
of photographs upon whaich the painting would be based, or

composition of the painting. : ri:

20. By letter dated May 16, -2900, Maxwell, acting as the
actual, apparent .or ostensible agent of Epstein and/or Wexner,
confirmed that the cost of the painting would be $325,000.00. A
true and correct Copy of the May 16, 2002 letter from Maxwell to
Shanks is attached hereto as Exhibit ‘Bt.

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21. Thereafter, in reliance of the conduct, actions, words,
promises, contracts, and contractual wepresentations o* Maxwell,
Epstein and the Wexners,: Shanke commenced work on the portrait.
During the following months, shanks expended hundreds 4f hours on
the Wexner family portrait. cp a te

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22. On ox about October 23;°2000, while the ‘painting was in
progress, Shanks comnunicated ro. Maxwell that he proposed uging
an antique mid-18th century picture frame for the painting, which
was later agreed upon For the price of $14,000.00. A true and
correct copy of the October 23, 2002 Letter from Shanks to
Maxwell ig attached hereto as Exhibit “F".

>3. On many occasions while the painting was in progresa,
Shanks invited the Waxners and/or Maxwell to visit Shanks’ studio
to see the progression of the portrait and provide coriments

relative to same. The Wexners and Maxwell declined ai.1 such
invitations. 8 .

24. During late April 2001; thé ‘painting was completed
after which the Wexnerg dispatched their own courier “0 pick up
the painting at Shanks’ studio in‘Andalusia, Bucks County,
Pennsylvania. A true and correct representation of the painting
is attached hereto 46 Bxhibit “G" a

25. In early May 2001, akté¥ the painting wae delivered to
the Wexners, Shanks received communications from the assistants
and/or agents of the Wexners that the Wexners had made certain
subjective comments about the painting, jin particular, comments
regarding their apparent dissatisfaction with the poges of the

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children, their relative ages and sizes ag portrayed, and
expressions of the subjects, including. Abigail Wexner herself.
26. Shanks attempted to assuage the. Wexner’ s concerns, by
explaining certain elements of the creative process tha an
artist, such as Shanks, employs jn xcendering a :portrait such as

that which was commissioned and-tendered upon completica,

27. On May 9, 2001, Shanks invoiced the Wexners for the
painting in the agreed upon amount of $325,000.00, $14,000.00 for
the antique frame and $900.00 fon ithe crate and packing. A true
and correct copy of the invoice: dated May 9, 2001 is attached
hereto as Bxhibit “H”. | - eo Ra.

28. At all] times the Wexners,,and/or Epstein have refused to
pay the afore-referenced invoice as: agreed...

29. Implicit in the contract: and/or course of conduct and
communication between. Shanks and ,the Wexnerg and/or Epstein was
Shanks’ “creative license’ to interpret the subjects arid portray
them in an artistic fashion. bal .

30. At no time did Shanks contract, explicitly o:
implicitly, to portray -the gubjects.with “photo realism’ as one
would expect froma photographie inendering of the subjects.

31. Shanks’ unique and widely acclaimed style of painting
jg well represented in the portrait of Abigail Wexner and her
four children. *

COUNT I
‘THE WEXNERS AND EPSTEIN

SHANKS v.

‘BREACH OF CONTRACT

 

32. Plaintiff incorporates by, réference Paragrapiis 1
through 31 as though fully set forth herein and at lenzyth.

33, Epstein, by and through ’,His Actual; apparent and/or
ostensible agent, Maxwell, contragted with Shanks to create a
painting of Abigail Wexner and her..four children in a manner

consistent with the style, workmanship and quality. customary of
Shanks. Ot

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34. In the alternative, the Wexners, by and through their
actual, apparent and/or ostensible agents, Maxwell and Epstein,

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contracted with Shanks to create 1a“painting of Abigail Wexner and
her four children in asmanner congisterit: with the style,
workmanship and quality customary of Shanks.

35. By letter dated. May 16;: 2000, Maxwell, acting as the
actual, apparent and/or. ostensible“agent of Epstein and/or the
Wexners, confirmed.in writing the. agreement between Shanks and
Epstein and/or the Wexners, that in exchange for delivering a
painting of Abigail Wexner and hex -four children, Epstein and/or
the Wexners’ would pay Shanks $325,690.00. pe

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36. In or about late April; 2001, Shanks tendered to the
Wexners, at the behest of Epstein and/or Maxwell, the subject
painting, the tender of which was accepted by Epstein and/or the
Wexners at Shanks’ studio in Andalusia, Bucks. County,
Pennsylvania. tee oe .

37. The. subsequent attempts.-by Epstein and/or the Wexners
to reject the painting. were based.on purely subjective grounds.

38. Subjective approval of the painting. by the Wexners,
Maxwell, and/or Epstein was not .a ¢ondition precedent tio payment
by Epstein and/or the “Wexners to‘Ghankg pursuant to the agreement
between them. oo Pk RB

39. The painting: was completed ina professional and
artiatic manner, consistent: with Shanks’..style, which was well
known to Epstein, Maxwell and/or the Wexners.

40. At all times relevant hereto, Epstein and/or the
wexners have refused to pay the agreed upon amount of
$325,000.00, plus $14,000.00 for the antique frame, toyether with
$900.00 for crate and packing for a total amount of $3239,900,00,
as represented in the May 9, 2001 invoice.

WHEREFORE, Plaintiff, Nelson Shanks demands judgment against
Defendants Epstein and Maxwell, individually, jointly and/or
severally, for the sum. of $339,900.00, plus interest at) the legal
rate and exclusive of. costs, and any other damages or velief that
this Court may deem appropriate and just.

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SHANKS. v. ALL.-DEFENDANTS
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41. Plaintiff incorporates by. reference Paragraphs 1
through 40 as though fully set forth. herein and at length.
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42. The words, conduct, deeds, actions and/or inactions of
Maxwell, Epstein, and/or the Wexners,-individually, or in
goncert, or as principal and agent, jnduced Shanks to act to his
detriment by expending hundreds of hours in the course of
creating the painting. for the benefit of the Wexners and/or
Epstein. oe toys -

43, Shanks justifiably relied on the words, deeds, conduct,
actions, or inactiona of Maxwell, Epstein and/or the Wexners in
expending hundreds of hours to complete the painting of the

Wexner family. od tok

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44. Specifically, Defendants: gave Shanks free reign to
compose the painting, to select photographs upon which the
painting would be based, and declined to give Shanks ary
direction whatever as to the ultimate composition of the

painting.

45. By the words, conduct, deeds, actions or inactions of
Defendants, or any of them, Shanks-redsonably believed that he
wag given creative license to produce the painting of t.he Wexner
family consistent with his own unigue “Style of painting, and
consistent with prior works which weré known to and viewed by the
Defendants. " woe

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46. Absent the specific words, conduct, deeds, actions or
snactions of Defendants, or any, of them, Shankg would not have
proceeded to expend hundreds of hours to complete the painting of
the Wexner family. .

47. Bs the result of the inducements of the Defendants, or
any of them, upon which Shanks reasonably relied, manifest
injustice would result if Shanks is not paid for the t:me and
materials he expended in completing the painting of the Wexner
family, which time is valued in excess of $325,000.00,

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WHEREFORE, Plaintiff, Nelson Shanks demands judgment against
Defendants Epstein and Maxwell,
jointly and/or severally,
exclusive of interest,

and the Wexners, individually,

for a sum in excess of $325,000.00,

and any other damages or relief

that thie Court may deem appropriate and just.

Date:

October 2,

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Attorneys for Nelson Sharks

 

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